     Case 1:19-cv-02291-ELR-JKL Document 14-1 Filed 09/30/19 Page 1 of 17




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DANA LYNN ZAHEDI AND REZA
ZAHEDI,

      Plaintiffs,

v.                                              Case No.:
                                                1:19-cv-02291-ELR-JKL
THE BANK OF NEW YORK MELLON
TRUSTEE FKA THE BANK OF NEW
YORK, AS TRUSTEE FOR THE
CERTIFICATE HOLDERS OF
CWMBS, INC., ALTERNATIVE LOAN
TRUST 2006-8T1 MORTGAGE PASS
THROUGH CERTIFICATES SERIES
2006-7, BAYVIEW LOAN SERVICING,
LLC, and RUBLIN LUBLIN, LLC,

      Defendants.


                     MEMORANDUM OF LAW IN SUPPORT
                    OF RUBIN LUBLIN’S MOTION TO DISMISS

      COMES NOW, Rubin Lublin, LLC (“Rubin Lublin”) and files its

Memorandum of Law in Support of its Motion to Dismiss pursuant to Fed. R. Civ.

P. 12(b)(6), respectfully showing this Honorable Court as follows:




                                        1
     Case 1:19-cv-02291-ELR-JKL Document 14-1 Filed 09/30/19 Page 2 of 17




                                STATEMENT OF FACTS

       This case represents at least the fifth attempt by the Plaintiffs to stall a

foreclosure sale of the property located at 3950 Spalding Drive, Atlanta, Georgia

30350 (the “Property”). See Zahedi v. Bank of Am., N.A., No. 1:14-cv-00272-HLM

(N.D. Ga.), appeal dismissed, No. 14-13899 (11th Cir.); Zahedi v. McCalla

Raymer, LLC, No. 1:15-cv-00525-WSD (N.D. Ga.); Zahedi v. Bank of Am., N.A.,

No. 14-5165 (Bankr. N.D. Ga.); Zahedi v. Bank of Am., N.A., No. 1:15-cv-02739-

ELR (N.D. Ga.). On April 29, 20019, Plaintiff’s filed this action in the Superior

Court of Fulton County, Georgia, Civil Action Number 2019CV320376.1 [Doc. 1].

       On May 23, 2019, BNY Mellon and Bayview Loan Servicing, LLC removed

the Complaint to this Court on the basis of Federal Question jurisdiction. [Doc. 1].

The Complaint seeks relief against three defendants under the Fair Debt Collection

Practices Act (“FDCPA”), Real Estate Settlement Procedures Act (“RESPA”), and

includes several state law claims without any distinction as to either the alleged

violations or the defendants alleged to have perpetrated them. [Doc. 1-1]. The

Complaint also contains only two factual allegations: an identification of the



1
  Now, the Plaintiffs have returned with a pleading purchased from the internet or other
unscrupulous source, as evidenced by the fact that nearly the exact same pleading was filed
before this Court in at least one other pro se case. See, e.g., Bermudez v. U.S. Bank Nat’l Ass’n,
No. 1:18-cv-05018-SCJ-AJB (N.D. Ga.).
                                                2
    Case 1:19-cv-02291-ELR-JKL Document 14-1 Filed 09/30/19 Page 3 of 17




Property and of the security deed being foreclosed. See generally [Doc. 1-1] at pp.

9-16.

        Fortunately, the Fulton County public records can supply some additional

information to fill in the information that Plaintiffs have neglected. On August 23,

2005, Dana Lynn Zahedi (“Ms. Zahedi”) obtained title to the Property via a

Limited Warranty Deed recorded on August 29, 2005, in Book 40746, Page 582,

Fulton County, Georgia Records (the “Warranty Deed”). A true and correct copy

of the Warranty Deed is attached hereto as Exhibit “A”. Several months later, Ms.

Zahedi “executed a Security Deed to AMERICA’S WHOLESALE LENDER filed

for record on 11/15/2005, and recorded in Deed Book 41350, Page 300, Fulton

County, Georgia Records [(the “Security Deed”)].” [Doc. 1-1]. A true and correct

copy of the Security Deed is attached hereto as Exhibit “B”. The Security Deed

names only Dana Lynn Zahedi as a Borrower. See Ex. A at p. 1. On July 25, 2007

Ms. Zahedi executed a Quitclaim Deed into herself and Reza Zahedi, via the Quit-

Claim Deed recorded on August 22, 2007, at Deed Book 45574, Page 452, Fulton

County, Georgia records (the “Quit Claim Deed”).

        On March 5, 2011, Ms. Zahedi executed a Loan Modification agreement

with BAC Home Loans Servicing, LP, recorded On May 3, 2011 at Book 50043,

Page 75, Fulton County, Georgia records (the “Loan Modification”). The Security

                                         3
     Case 1:19-cv-02291-ELR-JKL Document 14-1 Filed 09/30/19 Page 4 of 17




Deed was last assigned to The Bank of New York Mellon f/k/a The Bank of New

York, as Trustee for the Certificate Holders of CWMBS, Inc., Alternative Loan

Trust 2006-8TI, Mortgage Pass-Through Certificates, Series 2006-7, via the

Corporate Assignment recorded on July 22, 2014 at Deed Book 54001, Page 289,

Fulton County, Georgia records (the “Assignment”). A true and correct copy of the

Assignment, which has been redacted to remove privacy protected information, is

attached as Exhibit “C”.

      At some point Ms. Zahedi defaulted on her payments under the Security

Deed and Loan Modification and a foreclosure sale was scheduled for May 7, 2019

[Doc. 1-1]. On May 6, 2019, the Superior Court of Fulton County held an

Emergency Hearing on Plaintiff’s request for a Temporary Restraining Order to

enjoin foreclosure and entered an Order postponing the sale for thirty days. [Doc.

1-1]. To date, no sale has been rescheduled.

                      Argument and Citation to Authority

A.    STANDARD OF REVIEW

      This Court may grant a motion to dismiss pursuant to Fed. R. Civ. P.

12(b)(6) if the complaint does not state a claim that is “plausible on its

face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). “Determining whether a complaint states a

                                        4
     Case 1:19-cv-02291-ELR-JKL Document 14-1 Filed 09/30/19 Page 5 of 17




plausible claim for relief will . . . be a context-specific task that requires the

reviewing court to draw on its judicial experience and common sense.” Id. at 679

(citation omitted). In considering a motion to dismiss, the Court must treat all well-

plead allegations of the Complaint as true. Id. However, “the tenet that a court

must accept as true all of the allegations contained in a complaint is inapplicable to

legal conclusions. Threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.” Id. at 678 (citing

Twombly, 550 U.S. at 555).

B.    PLAINTIFF REZA ZAHEDI FAILS TO STATE A CLAIM FOR
      RELIEF

      As an initial matter, it is unclear whether Plaintiff Reza Zahedi (“Mr.

Zahedi”) has standing to bring any claim in this case. See Ex. A; Ex. B. While Mr.

Zahedi is included as a Plaintiff in the style and has signed the Complaint, the

Complaint seeks relief from the power of sale clause contained in the Security

Deed to which he is not a party. In fact, at the time Ms. Zahedi executed the

Security Deed, Mr. Zahedi was not on title to the Property and had no cognizable

interest in the Property whatsoever. See Ex. A; Ex. B.

      Security deeds are contracts conveying legal title to property to secure a

debt. “A foreclosing creditor owes certain duties by statute and contract to the

debtor, and the debtor may seek relief if those duties are breached.” See, Ames v.
                                         5
     Case 1:19-cv-02291-ELR-JKL Document 14-1 Filed 09/30/19 Page 6 of 17




JP Morgan Chase Bank, N.A., 298 Ga. 732, 738, 783 S.E.2d 614, 619 (2016). As a

contract, an essential element for any claim brought pursuant to the Security Deed

is that it is brought by a party with right to complain. Canton Plaza, Inc. v. Regions

Bank, Inc., 315 Ga. App. 303, 306(2012)(emphasis in original); Duke Galish, LLC

v. Manton, 308 Ga.App. 316, 320(2) (2011). Since Mr. Zahedi cannot establish that

he was a party to the contract that is the crux of this action, he lacks the requisite

standing to bring his claims. See Ex. A. Accordingly, all claims brought by Mr.

Zahedi must be dismissed.

C.    PLAINTIFFS COMPLAINT FAILS TO STATE A CLAIM UPON
      WHICH RELIEF CAN BE GRANTED

      Even overlooking Mr. Zahedi’s lack of standing with respect to the claims in

this action, the claims themselves fail as a matter of law. The Federal Rules of

Civil Procedure require that a Complaint provide a defendant with fair notice of the

claims against it. Fed. R. Civ. P. 8. Here, Plaintiffs’ Complaint is comprised almost

entirely of legal conclusions and utterly fails to provide any basis for the asserted

claims. Under the bolded header facts Plaintiff state:

      5.    Plaintiffs executed a security Deed to AMERICAS
      WHOLESALE LENDER filed for record on 11/15.2005, and
      recorded in Deed Book 41350, Page 300, Fulton County, Georgia
      Records.
      6.    Defendants under and by virtue of the Power of Sale
      contained in mentioned Security Deed in Paragraph 5 will be
                                          6
Case 1:19-cv-02291-ELR-JKL Document 14-1 Filed 09/30/19 Page 7 of 17




 selling at public outcry to the highest bidder for cash before the
 courthouse door of FULTON County, Georgia, or at such place
 as may be lawfully designated as an alternative, within the legal
 hours of sale on the first Tuesday in May 7, 2019, the Property.
 7.     Defendants is duly appointed agent and attorney in fact for
 the Plaintiffs. Defendant by conducting Foreclosing proceedings
 on plaintiff’s property without exhausting all loss mitigation
 remedies available and not following Federal or State Loss
 mitigation regulations in order to avoid foreclosure on Plaintiff’s
 Property has breached Fiduciary Duties per Georgia Code § 11-3-
 307.
 8.     Defendants are not on compliance with Consumer
 Financial Protection Bureau (CFPB) regulations for loss
 mitigation efforts under mortgage servicing rules in Regulations
 x and z for first or second trust closed-end loans becoming
 effective April 19, 2018 and with the Fair Debt Collection
 Practices Act (FDCPA) specifically related to failing to send
 Plaintiffs a written “validation notice” within five days of first
 contacting Plaintiff with information such as how much money
 Plaintiffs owe and the name of the creditor that Plaintiff owes it
 to in order for Plaintiffs to have the opportunity to object the
 amount that is been collected by the Defendants and to ask for a
 verification of such debt to request Plaintiffs how old is the debt
 to establish if such debt is out of statute of limitations therefore if
 the debt can be considered “time-barred” and Defendants has
 been illegally collecting a debt on Plaintiffs.
 9.     Plaintiffs because of expressed in Paragraph 8 and under
 the Federal Debt Collection Practices Act is submitting a cease
 communication request to Defendants and requesting a
 certification of debt asking when was the last payment received
 by Defendants in order to check if the debt is out of statute of
 limitations therefore if the debt can be considered “time-barred”
 and Defendants have been illegally collecting a debt on Plaintiff.
 [Doc.1-1].


                                   7
     Case 1:19-cv-02291-ELR-JKL Document 14-1 Filed 09/30/19 Page 8 of 17




      Importantly, Plaintiff’s title is a misnomer. Despite couching their rambling

assertions beneath the designation facts, Plaintiffs have only succeeded in pleading

one fact-- that they executed a security deed. [Doc. 1-1]. They provide no other

background for any of their assertions; as such, their pleading is insufficient.

Without some factual allegation in the complaint, it is hard to see how a claimant

could satisfy the requirement of providing not only “fair notice” of the nature of

the claim, but also “grounds” on which the claim rests. See 5 Wright & Miller §

1202, at 94, 95 (Rule 8(a) “contemplate[s] the statement of circumstances,

occurrences, and events in support of the claim presented” and does not authorize a

pleader's “bare averment that he wants relief and is entitled to it”). Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 556 (2007).

D.    PLAINTIFFS HAVE FAILED TO STATE A CLAIM FOR RELIEF
      UNDER THE FDCPA

      Moreover, even if this Court were to find sufficient factual allegations in the

Complaint to merit the continued prosecution of this action, each of Plaintiffs’ five

individual causes of action fail on its face. First, Plaintiffs seek to enjoin

foreclosure upon a purported violation of the FDCPA. Without any further analysis

of their claim, this relief is untenable because injunctive relief is not available

under the FDCPA. Johnson v. Fay Servicing, LLC, 1:17-CV-02513-CC-JCF, 2017

WL 8217523, at *1 (N.D. Ga. Oct. 19, 2017). Moreover, Plaintiffs utterly fail to
                                     8
    Case 1:19-cv-02291-ELR-JKL Document 14-1 Filed 09/30/19 Page 9 of 17




meet the requisite elements of their claim. “To state a claim under the FDCPA, a

plaintiff must establish each of the following elements: (1) that he was the object

of “collection activity” arising from “consumer debt”; (2) that the defendant

qualifies as a “debt collector” under the FDCPA; and (3) that the defendant

engaged in an act or omission prohibited by the FDCPA.” In re Ward, 583 B.R.

558, 570 (Bankr. S.D. Ga. 2018); Darrisaw v. Pennsylvania Higher Educ.

Assistance Agency (PHEAA), 2017 WL 1377719, at *2 (S.D. Ga. Apr. 11, 2017).

      Second, Plaintiffs’ Complaint fails to establish that any of the Defendants,

much less Rubin Lublin, qualifies as a debt collector. If a party is not a debt

collector as defined by the FDCPA, the provisions of the Act do not apply.

Obduskey v. McCarthy & Holthus LLP, 139 S. Ct. 1029, 1031 (2019). “A debt

collector is any person who uses any instrumentality of interstate commerce or the

mails in any business the principal purpose of which is the collection of any debts,

or who regularly collects or attempts to collect, directly or indirectly, debts owed

or due or asserted to be owed or due another.” In re Ward, 583 B.R. 558, 570

(Bankr. S.D. Ga. 2018); 15 U.S.C. § 1692a(6). “To state an FDCPA claim, the

Plaintiff must plausibly allege sufficient facts to enable the Court to draw a

reasonable inference that the Defendant meets the FDCPA's definition of ‘debt

collector.’” Kurtzman v. Nationstar Mortg. LLC, 709 Fed.Appx. 655, 658–59 (11th

                                         9
    Case 1:19-cv-02291-ELR-JKL Document 14-1 Filed 09/30/19 Page 10 of 17




Cir. 2017); In re Ward, 583 B.R. 558, 570 (Bankr. S.D. Ga. 2018). As established

supra Plaintiffs do not plead any facts whatsoever. Accordingly, they fail to

establish the second element of their claim.

      Finally, Plaintiffs specifically claim that “Defendants are not on compliance

[…] with the Fair Debt Collection Practices Act (FDCPA) specifically related to

failing to send Plaintiffs a written “validation notice” within five days of first

contacting Plaintiff”. [Doc. 1-1]. By their own admission, the requirement of a

validation notice is not triggered until after the point of “first contact.” Having

failed to allege any facts relating to any communication whatsoever, Plaintiffs

cannot establish that any obligation to send any validation notice has arisen and

have failed to meet the third element for their claim.

      Finally, Plaintiff has failed to allege any damages flowing from the alleged

violation and further fails to seek any statutory damages. [Doc. 1-1]. “Absent

allegations of actual damages, the Complaint fails to state a claim for relief.”

Licona v. Wilmington Sav. Fund Soc'y, FSB, No. 1:16-CV-2756-AT-CMS, 2016

WL 9275412, at *4 (N.D. Ga. Sept. 26, 2016), report and recommendation

adopted, No. 1:16-CV-2756-AT, 2016 WL 9308546 (N.D. Ga. Oct. 19,

2016)(citing Renfroe v. Nationstar Mortg., LLC, 822 F.3d 1241, 1246 (11th Cir.

2016).

                                         10
     Case 1:19-cv-02291-ELR-JKL Document 14-1 Filed 09/30/19 Page 11 of 17




D.     SIMILARLY, PLAINTIFFS HAVE NOT STATED A VIABLE CLAIM
       UNDER RESPA

       Plaintiffs also assert that Defendants violated Regulations X and Z by failing

to evaluate them for loss mitigation options. [Doc. 1-1]. Regulation X of RESPA

lays out the rules and regulations that loan servicers must follow upon receipt of a

timely loss mitigation application. 12 C.F.R. § 1024.41. Notably, Plaintiffs fail to

allege sufficient facts to indicate which, if any of the Defendants, they purport is a

loan servicer within the meaning of 12 U.S.C. §2605(i) (defining “servicer” as “the

person responsible for servicing of a loan” and “servicing” as “receiving any

scheduled periodic payments from a borrower pursuant to the terms of any loan ...

and making the payments of principal and interest and such other payments with

respect to the amounts received from the borrower”). Thomas v. US Bank Nat'l

Ass'n, 675 Fed. Appx. 892, 899 (11th Cir. 2017).

       While throughout the Complaint, Plaintiffs refer to Defendants in the

aggregate, Rubin Lublin seems to have been named in this action solely in its

capacity as foreclosure counsel for the Defendants. [Doc. 1-1]. Rubin Lublin is not

named individually within any paragraphs of the Complaint, and its inclusion is

limited to the sole reference in the style of the case. [Doc. 1-1]. There is simply no

allegation in the pleading to permit an inference that Rubin Lublin serviced the

loan, accepted any payment on the loan, was tendered any payment on the loan, or
                                       11
     Case 1:19-cv-02291-ELR-JKL Document 14-1 Filed 09/30/19 Page 12 of 17




received any money toward the loan from Plaintiffs whatsoever. [Doc. 1-1].

Without such allegations, the complaint is devoid of any indication that Rubin

Lublin qualifies as a loan servicer under RESPA and Plaintiff’s claim fails.

       In Licona, the court also noted that the Plaintiff failed to allege any damages

flowing from the alleged violation. “Absent allegations of actual damages, the

Complaint fails to state a claim for relief.” Id. (citing Renfroe v. Nationstar Mortg.,

LLC, 822 F.3d 1241, 1246 (11th Cir. 2016). Accordingly, Defendants respectfully

submit that Plaintiff has failed to state a claim under RESPA and their claims

should be dismissed.

E.     PLAINTIFF’S STATE LAW CLAIMS ALSO FAIL

       Lastly, this Court has extended supplemental jurisdiction to Plaintiffs’ state

law claims for declaratory judgment and breach of fiduciary duty. Under Georgia

law, declaratory judgment affords relief from uncertainty with respect to a future

right. Avery v. Paulding Cty. Airport Auth., 343 Ga. App. 832, 845, 808 S.E.2d 15,

25 (2017), reconsideration denied (Nov. 14, 2017), cert. denied (June 4, 2018). See

also Baker v. City of Marietta, 271 Ga. 210, 518 S.E. 879, 214 (1999) (“[w]here

the party seeking declaratory judgment does not show it is in a position of

uncertainty as to an alleged right, dismissal of the declaratory judgment action is

proper”); Center for a Sustainable Coast v. Ga. Dept. of Natural Resources, 319

                                          12
    Case 1:19-cv-02291-ELR-JKL Document 14-1 Filed 09/30/19 Page 13 of 17




Ga. App. 205, 208 (1), 734 S.E.2d 206 (2012), rev’d on other grounds, 294 Ga.

593, 755 S.E.2d 184 (2014); Henderson, 217 Ga. at 541, 123 S.E.2d 721; see also

SJN Properties, 296 Ga. at 802-803 (2) (b) (iii), 770 S.E.2d 832 (summary

judgment proper on claim for declaratory relief where claimant failed to show that

it faced any uncertainty or insecurity as to any of its own future conduct).

      In the present case, Plaintiffs request declaratory relief regarding alleged

conduct by the Defendants that occurred in the past. [Doc. 1-1]. Specifically, they

seek a declaration that “Defendants have been collecting on a debt illegally”, that

“Defendants did violate Statute of Limitations”, and that “Defendants have

breached Fiduciary Duties.” [Doc. 1-1]. Each of these requested judgments relate

to some alleged past action of the conglomerate “Defendants”. Plaintiffs do not

state any prospective uncertainty upon which this Court can provide them with

clarity or direction, because their rights, and the rights of the Defendants, have

already accrued. As such, their claim for declaratory judgment is, at its core, a

request for an advisory opinion from this Court as to past alleged events; and it too

must be dismissed. Baker at 214.

      Plaintiffs’ final claim for Breach of Fiduciary duty must also be dispensed

with. [Doc. 1-1]. In evaluating an identical claim in a nearly identical complaint,

this Court previously stated the following, which is equally applicable here:

                                         13
    Case 1:19-cv-02291-ELR-JKL Document 14-1 Filed 09/30/19 Page 14 of 17




      In Georgia, a claim for breach of fiduciary duty has three elements:
      (1) the existence of a fiduciary duty; (2) breach of that duty; and (3)
      damage proximately caused by the breach. Griffin v. Fowler, 579
      S.E.2d 848, 850 (Ga. Ct. App. 2003). The Complaint contains only
      conclusory statements that Defendants breached their fiduciary duties
      does not contain any factual allegations that identify the existence of a
      fiduciary duty or confidential relationship between Plaintiff and either
      Defendant, an act that constituted a breach of that duty, or any
      resulting damage. Moreover, under Georgia law, a creditor does not
      owe any heightened or fiduciary duty to a borrower related to a
      loan. Russell v. Barnett Banks, Inc., 527 S.E.2d 25, 26-27 (Ga. Ct.
      App. 1999) (“There is ... no confidential relationship between lender
      and borrower or mortgagee and mortgagor for they are creditor and
      debtor with clearly opposite interests”) (internal citations omitted).
      Georgia law is clear that a lender and borrower have no fiduciary
      relationship and deal at arm's length. Baker v. Campbell, 565 S.E. 3d
      855, 859-60 (Ga. Ct. App. 2002).

Licona v. Wilmington Sav. Fund Soc'y, FSB, No. 1:16-CV-2756-AT-CMS, 2016
WL 9275412, at *4 (N.D. Ga. Sept. 26, 2016), report and recommendation
adopted, No. 1:16-CV-2756-AT, 2016 WL 9308546 (N.D. Ga. Oct. 19, 2016).

      As in Licona, Plaintiffs do not establish the existence of any fiduciary duty

at issue, and moreover, have not plead any facts at all to support the claim. Thus,

the Plaintiff’s claim for breach of fiduciary duty must be dismissed.

                                 CONCLUSION

      Based on the foregoing, Rubin Lublin respectfully requests that this Court

grant its Motion to Dismiss.


                                         14
Case 1:19-cv-02291-ELR-JKL Document 14-1 Filed 09/30/19 Page 15 of 17




  Respectfully submitted, this 30th day of September 2019.

                                 /s/ Bret J. Chaness
                                 BRET J. CHANESS (GA Bar No. 720572)
                                 COREY R. MENDEL (GA Bar No. 604149)
                                 RUBIN LUBLIN, LLC
                                 3145 Avalon Ridge Place, Suite 100
                                 Peachtree Corners, GA 30071
                                 (678) 281-2730 (Telephone)
                                 (404) 921-9016 (Facsimile)
                                 bchaness@rubinlublin.com

                                 Attorneys for Rubin Lublin, LLC




                                   15
   Case 1:19-cv-02291-ELR-JKL Document 14-1 Filed 09/30/19 Page 16 of 17




                          FONT CERTIFICATION

      The undersigned counsel hereby certifies that the within and foregoing was

prepared using Times New Roman, 14-point font in accordance with LR 5.1(B).

      This 30th day of September 2019.

                                    /s/ Bret J. Chaness
                                    BRET J. CHANESS (GA Bar # 720572)




                                         16
    Case 1:19-cv-02291-ELR-JKL Document 14-1 Filed 09/30/19 Page 17 of 17




                         CERTIFICATE OF SERVICE

      I hereby certify that I have this 30th day of September 2019, served all

parties in this matter with the within and foregoing by CM/ECF (registered users

only) and by placing a true and correct copy of same in the United States Mail,

with first-class prepaid postage affixed thereto, properly addressed as follows:

      John Michael Kearns
      Terminus 200, Suite 1200
      3333 Piedmont Rd., N.E.
      Atlanta, Georgia 30305

      Devin B. Phillips
      5887 Glenridge Dr., NE, Ste. 275
      Atlanta, Georgia 30328

                                       /s/ Bret J. Chaness
                                       BRET J. CHANESS (GA Bar No. 720572)




                                         17
